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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

 LOUIS MBANWI ACHA                                           CIVIL ACTION NO. 20-1696

                                                             SECTION P
 VS.
                                                             JUDGE TERRY A. DOUGHTY

 CHAD WOLF                                                   MAG. JUDGE KAREN L. HAYES


                             REPORT AND RECOMMENDATION

        Petitioner Louis Mbanwi Acha, a detainee in the custody of the Department of Homeland

 Security (“DHS”) and the Bureau of Immigration and Customs Enforcement (“ICE”) who

 proceeds pro se, petitions the Court for a writ of habeas corpus under 28 U.S.C. § 2241, and

 moves for a temporary restraining order. [doc. #s 1, 3]. He seeks release from confinement,

 claiming (1) he is suffering prolonged post-deportation detention; (2) his prolonged detention

 amounts to punishment in violation of the Eighth Amendment; and (3) he is vulnerable to a

 virus, Covid-19. For reasons below, the Court should deny the petition and motion.

                                            Background

        Petitioner is a citizen of Cameroon, and he is detained at Jackson Parish Correctional

 Center (“JPCC”). [doc. # 9-1, p. 1]. On January 23, 2020, an immigration judge ordered

 Petitioner removed. [doc. # 3, p. 14]. On June 29, 2020, the Board of Immigration Appeals

 (“BIA”) denied Petitioner’s appeal. Id.

        Petitioner filed this Petition on approximately December 24, 2020, claiming: (1) that he is

 enduring prolonged detention and (2) that his detention is exposing him to Covid-19. [doc. # 1,

 pp. 4, 6]. He seeks immediate release from detention “on [his] own recognizance[,]” or in the

 alternative, release on parole, bond, or other reasonable conditions of supervision. Id. at 5.
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           On approximately January 4, 2021, Petitioner moved for a temporary restraining order,

 seeking immediate release and maintaining that he is “highly vulnerable to serious injury or

 death” due to Covid-19. [doc. # 3, pp. 1, 10-11, 47]. The majority of his motion is dedicated to

 release because of his conditions of confinement and exposure to Covid-19. But he also seeks

 release under Zadvydas v. Davis, 533 U.S. 678 (2001), claiming that his detention is “indefinite.”

 Id. at 15. Further, he seeks declaratory and habeas relief under the Rehabilitation Act. Id. at 45.

           Respondent Chad Wolf responded on January 14, 2021. [doc. # 9]. Respondent argues:

 (1) that ICE obtained a travel document for Petitioner and that Petitioner’s removal is scheduled

 in “early February” 2021; (2) that a habeas petition “is not the proper vehicle for [Petitioner’s]

 request for release due to his conditions of his confinement”; and (3) even if Petitioner’s claim is

 cognizable, Petitioner has not met his burden for the extraordinary remedy he seeks. [doc. #s 9,

 p. 2; 11, p. 2].

                                            Law and Analysis

 I. Conditions of Confinement

           A. Habeas Corpus is Unavailable

           Petitioner alleges that he is “highly vulnerable to serious injury or death if [he] contract[s]

 Covid-19 . . . .” 1 [doc. # 3, p. 1]. He alleges that officials at JPCC are failing to adhere to CDC

 guidelines for increased social distancing, masks, hygiene, testing, and restricting transfers

 between facilities. Id. He alleges that he is confined in close proximity to others without

 adequate sanitation or protection. Id. at 3. He alleges:

            [H]e is at risk of serious injury and death because of Respondents’ reckless
            choices and the conditions at JPCC. Respondents’ failure to follow public health
            guidance endangers the lives of those they have chosen to detain. The only way
            to effectively inhibit the spread of the coronavirus and to protect Petitioner and


 1
     Petitioner also refers to Covid-19 as the “coronavirus.”
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              others from the risks posed by Covid-19 infection is to immediately release
              Petitioner, so that he can actually adhere to the guidance from public health
              experts and take the necessary steps to protect himself.

 Id. at 10.

         Petitioner maintains that he “is 24 years old and suffers from an unknown etiologic

 disorder (chest pains).” Id. at 12. He also suffers from asthma. Id. at 18, 41. “He is therefore at

 high risk of severe illness or death if he contracts Covid-19.” Id. at 18. Petitioner also alleges

 that he already contracted Covid-19 and “has experienced symptoms[.]” Id. at 41.

         Plainly, Petitioner challenges the conditions of his confinement. “Simply stated, habeas

 is not available to review questions unrelated to the cause of detention. Its sole function is to

 grant relief from unlawful imprisonment or custody and it cannot be used properly for any other

 purpose. While it is correctly alluded to as the Great Writ, it cannot be utilized as . . . a

 springboard to adjudicate matters foreign to the question of the legality of custody.” Pierre v.

 United States, 525 F.2d 933, 935–36 (5th Cir. 1976).

         “Allegations that challenge the fact or duration of confinement are properly brought in

 habeas petitions, while allegations that challenge rules, customs, and procedures affecting

 conditions of confinement are properly brought in civil rights actions.” Schipke v. Van Buren,

 239 F. App'x 85, 85–86 (5th Cir. 2007). “A § 2241 habeas petition is the proper procedural

 vehicle for challenging an action that ‘directly implicates the duration of’ a prisoner's

 confinement. Davis v. Fechtel, 150 F.3d 486, 487, 490 (5th Cir. 1998). It is not, however, the

 proper procedural vehicle for claims . . . regarding the conditions of confinement.” Boyle v.

 Wilson, 814 F. App'x 881, 882 (5th Cir. 2020). 2



 2
   See Melot v. Bergami, 970 F.3d 596, 599 (5th Cir. 2020) (“[A] habeas petition ‘is the proper
 vehicle to seek release from custody,’ while a civil rights suit pursuant to 42 U.S.C. § 1983 for a
 state prisoner or under Bivens for a federal prisoner is ‘the proper vehicle to attack
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         In Moore v. King, No. 08-60164, 2009 WL 122555, at *1 (5th Cir. Jan. 20, 2009), for

 instance, the petitioner sought habeas relief, challenging the conditions of his confinement. The

 court affirmed the dismissal of his claim, citing Pierre for the rule that habeas is simply not

 available. 3

         Here, Petitioner’s conditions-of-confinement claim is unrelated to the cause of his

 detention. The Court should dismiss it.

         B. Cheek v. Warden

         Cheek v. Warden of Fed. Med. Ctr., 2020 WL 6938364, at *1 (5th Cir. Nov. 24, 2020),

 does not alter the conclusion above. In the unpublished opinion, a “federal prisoner brought a

 habeas application pursuant to 28 U.S.C. § 2241[,]” seeking release “to home confinement due

 to the global pandemic created by COVID-19.” The court first observed, consistent with the

 authority above: “Section 2241 applications are used to challenge the length of a prisoner's

 sentence. If the prisoner wishes to challenge the conditions of his confinement, that claim is

 brought under 42 U.S.C. § 1983.” Id. (citations omitted).

         The court then found that the “request for release to home confinement in the context of a

 global pandemic was properly brought as an application for a writ of habeas corpus under

 Section 2241 because a favorable ruling from the district court would accelerate his release.”




 unconstitutional conditions of confinement and prison procedures.’”) (quoting Carson v.
 Johnson, 112 F.3d 818, 820 (5th Cir. 1997)).
 3
   See Mora v. Warden, Fed. Corr. Complex, Yazoo City Medium, 480 F. App'x 779, 780 (5th Cir.
 2012) (affirming dismissal of a 2241 petition as “not cognizable” because it related to the
 petitioner’s “medical needs, and a determination in his favor would not result in his accelerated
 release.”); Figueroa v. Chapman, 347 F. App'x 48, 50 (5th Cir. 2009) (“[T]he district court found
 it could not grant her relief pursuant to Section 2241 because her application was ‘not in
 reference to the imposed sentence—but for medical needs.’ We agree.”); McBarron v. Jeter, 243
 F. App'x 857, 857 (5th Cir. 2007); Watson v. Briscoe, 554 F.2d 650, 652 (5th Cir. 1977).
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 Id. (italics added). This conclusion, though, is misleading. The court held that because release

 to home confinement would accelerate the petitioner’s release, the request for home confinement

 constituted a request for habeas corpus. It did not hold that the district court possessed authority

 to grant habeas corpus.

         In fact, the court stated explicitly that “the pandemic did not create judicial authority to

 grant home confinement[,]” that “[n]o inmate has a constitutional right to be housed in a

 particular place or any constitutional right to early release[,]” and that “[i]t is not for a court to

 step in and mandate home confinement for prisoners, regardless of an international pandemic.”

 Id.

         Here, Petitioner definitively seeks habeas corpus relief. He “brought” his request

 “properly,”—especially considering that a request for release would be improper under Section

 1983 and Bivens—but the relief he seeks is unavailable.

         Cheek concluded that the petitioner could not obtain the specific relief he sought under 18

 U.S.C. § 3624(c)(2), reasoning that the Bureau of Prisons (“BOP”) and the Attorney General

 “have the discretion to consider the appropriateness of home release based on certain statutory

 and discretionary factors.” Id. But then the court hesitated. Leaving the question unresolved,

 Cheek hypothesized that “vested authority in the BOP might not wholly eliminate a court's role

 in such decisions.” With a bit more conviction, Cheek then cited Melot, a Fifth Circuit

 proceeding in which a prisoner sought participation in the Elderly Offender Home Detention

 Program, for the proposition that “[a] challenge to the BOP's or Attorney General's interpretation

 of the statute would make judicial review appropriate.” Id. (italics added) (citing Melot v.

 Bergami, 970 F.3d 596, 599–600 (5th Cir. 2020)). But Cheek failed to mention that in Melot,




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 970 F.3d at 599, the court clearly stated that “Melot's claim involves his conditions of

 confinement . . . [and] is not cognizable under § 2241[.]” 4

        Regardless, the petitioner in Cheek did “not indicate the extent to which the BOP actually

 considered [him] for home-confinement release[,]” causing the court to conclude:

          Without a denial from the BOP, there is nothing for us to review. Cheek presents
          no indication that the BOP denied him or others, appropriately or otherwise, a
          request for home confinement. Instead, Cheek seems to challenge the BOP's
          silence, without any specific adverse decision. . . . [W]e must have some decision
          to review under Melot.

          ....

          We find that Cheek's claims do sound in habeas but that he has not presented an
          administrative decision that this court can review.

 Id.

        Here, Petitioner does not seek release under 18 U.S.C. § 3624. Even if he did, he neither

 presents an administrative decision for review nor challenges the Attorney General or BOP’s

 statutory interpretation of Section 3624. Further, it is unclear if Section 3624(c) applies to ICE

 detention. It provides, “The authority under this subsection may be used to place a prisoner in



 4
   See Francois v. Garcia, 2020 WL 7868101, at *3 (S.D. Tex. Dec. 24, 2020) (“Cheek seems to
 be in contravention of an earlier, but published, Fifth Circuit opinion from this year, Melot v.
 Bergami, 970 F.3d 596 (5th Cir. 2020).”); Ndudzi v. Perez, 2020 WL 7974296, at *5 (S.D. Tex.
 Dec. 24, 2020) (“Cheek offered little by way of analysis and did not discuss how, if at all, finding
 subject matter jurisdiction over conditions of confinement claims raised in habeas comported
 with this circuit's controlling precedent. . . . Cheek is difficult to reconcile with Fifth Circuit
 precedent concluding that a prisoner demonstrating Eighth Amendment violations involving
 cruel and unusual punishment ‘is still not entitled to release from prison.’ Cook v. Hanberry, 592
 F.2d 248, 249 (5th Cir. 1979); see also Schipke v. Van Buren, 239 F. App'x 85 (5th Cir. 2007)
 (per curiam) (“Habeas corpus is not available to prisoners complaining only of mistreatment
 during their legal incarceration.”) (quoting Hanberry, 592 F.2d at 249)). If, as Hanberry
 instructs, Eighth Amendment violations do not warrant release from prison, the Court is skeptical
 that it has subject matter jurisdiction over Petitioner's habeas petition—through which she seeks
 release from immigration detention for analogous violations she has raised under the Fifth
 Amendment.”).


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 home confinement for the shorter of 10 percent of the term of imprisonment of that prisoner or 6

 months. The Bureau of Prisons shall, to the extent practicable, place prisoners with lower risk

 levels and lower needs on home confinement for the maximum amount of time permitted under

 this paragraph.” 18 U.S.C. § 3624 (italics added). Reviewing Section 3624(e), United States v.

 Garcia-Rodriguez, 640 F.3d 129, 132 (5th Cir. 2011), found that “a straightforward reading of

 the applicable statute shows that administrative detention by ICE is not the same as

 imprisonment by the BOP.”

 II. Medical Care

         Petitioner suggested in both his Petition and at a January 19, 2021 hearing that

 Respondent is or has not provided constitutionally adequate medical care. Even assuming the

 Court could award the relief he seeks via habeas corpus petition for this ostensible claim, 5 or

 even assuming Petitioner filed this claim in a separate civil rights action, Petitioner is not entitled

 to relief.

         A plaintiff “must demonstrate that a government official was deliberately indifferent to ‘a

 substantial risk of serious medical harm.’” Bailey v. E. Baton Rouge Par. Prison, 663 F. App’x

 328, 330 (5th Cir. 2016) (quoting Wagner v. Bay City, 227 F.3d 316, 324 (5th Cir. 2000)). A

 prison official acts with deliberate indifference to an inmate’s health “only if he knows that [the]

 inmate[ ] face[s] a substantial risk of serious harm and disregards that risk by failing to take

 reasonable measures to abate it.” Farmer v. Brennan, 511 U.S. 825, 847 (1994); see Reeves v.

 Collins, 27 F.3d 174, 176-77 (5th Cir. 1994) (applying Farmer to a denial of medical care



 5
   See Mora, 480 F. App'x at 780 (affirming dismissal of a 2241 petition as “not cognizable”
 because it related to the petitioner’s “medical needs, and a determination in his favor would not
 result in his accelerated release.”); Figueroa, 347 F. App'x at 50 (“[T]he district court found it
 could not grant her relief pursuant to Section 2241 because her application was ‘not in reference
 to the imposed sentence—but for medical needs.’ We agree.”).
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 claim). A plaintiff must establish that a prison official “refused to treat him, ignored his

 complaints, intentionally treated him incorrectly, or engaged in any similar conduct that would

 clearly evince a wanton disregard for any serious medical needs.” Gobert v. Caldwell, 463 F.3d

 339, 346 (5th Cir. 2006).

        “[N]either an incorrect diagnosis nor the failure to alleviate a significant risk that should

 have been perceived, but was not, is sufficient to establish deliberate indifference.” Blank v.

 Bell, 634 F. App’x 445, 448 (5th Cir. 2016). “Unsuccessful treatment, medical malpractice, and

 acts of negligence do not constitute deliberate indifference; nor does a prisoner’s disagreement

 with his medical treatment, absent exceptional circumstances. Moreover, a delay in treatment is

 not unconstitutional, unless there has been deliberate indifference that results in substantial harm.

 In short, [d]eliberate indifference is an extremely high standard to meet.” Id. (internal quotation

 marks and quoted sources omitted); see Alton v. Tex. A & M Univ., 168 F.3d 196, 201 (5th Cir.

 1999) (“Actions and decisions by officials that are merely inept, erroneous, ineffective, or

 negligent do not amount to deliberate indifference.”); Frazier v. Keith, 707 F. App’x 823, 824

 (5th Cir. 2018) (“The choice between forms of treatment is a classic example of a matter of

 professional judgment and does not support a finding of deliberate indifference.”).

        Here, Petitioner contracted Covid-19 and “suffers from [an] unknown etiologic disorder

 (chest pains)[,]” asthma, and Thrombocytopenia. [doc. #s 3, pp. 12, 18, 41; 8, p. 1]. His

 Thrombocytopenia “means that he suffers from low platelet count which means his blood has

 low clotting levels.” [doc. # 8, p. 1].

        Petitioner, however, has received care. In July 2019, a physician evaluated Petitioner and

 prescribed medication. [doc. # 8-1, p. 10]. On December 9, 2019, a physician evaluated

 Plaintiff and prescribed medication. Id. at 14. On December 11, 2019, a physician evaluated



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 Petitioner’s Thrombocytopenia and other symptoms. Id. at 10. On December 16, 2019, a

 physician evaluated Petitioner, noted that he had dermatitis and Thrombocytopenia, and

 prescribed medication. Id.

        On February 19, 2020, a nurse noted that Petitioner should “repeat CBC.” Id. at 14. On

 February 22 or 24, 2020, a laboratory examined Petitioner’s blood and found that his platelet

 count was “chronically low.” Id. at 11. On February 24, 2020, a physician diagnosed Petitioner

 with “chronic Thrombocytopenia” and referred him to hematology. Id.

        On March 5, 2020, a nurse discussed Petitioner’s low platelet count with him and referred

 him to “hema/oncology.” Id. at 9. On April 15, 2020, a nurse evaluated Petitioner’s injured

 back and skin symptoms, provided treatment instructions, prescribed medication, and instructed

 him to return if his symptoms persisted or worsened. Id. at 9, 14. On April 30, 2020, a nurse

 prescribed nasal spray. Id. at 14. On June 5, 2020, a nurse reviewed Petitioner’s laboratory

 results and noted that she was awaiting consultation from hematology. Id.

        On June 30, 2020, a nurse evaluated Petitioner and treated his asthma. Id. at 5. On July

 14, 2020, the nurse evaluated Petitioner again, noting that he felt better and was using his inhaler.

 Id.

        Petitioner received care at Jackson Parish Hospital Emergency Department after he

 contracted Covid-19. Id. at 2. On August 25, 2020, a nurse prescribed several medications for

 his Covid-19 symptoms and noted that officials should prepare to transfer him to the emergency

 room if a “provider deems necessary.” Id. at 6. On August 31, 2020, a nurse evaluated

 Petitioner, noted that he was “feeling ok,” recorded his symptoms, and instructed him to continue

 “droplet precautions” and “medications per Covid-19 protocol.” Id. at 7. On September 2, 2020,

 a nurse evaluated Petitioner, noted that he was “feeling fine,” recorded his symptoms, and



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  instructed him to continue treatment. Id. at 8. On September 10, 2020, a physician evaluated

  Petitioner, prescribed medication, and provided follow-up instructions and education materials.

  Id. at 2, 4.

          On October 14, 2020, a nurse evaluated Petitioner and prescribed treatment for his

  asthma and Covid-19 symptoms. [doc. # 13-1, p. 2]. On November 18, 2020, a nurse reviewed

  Petitioner’s records, recorded his symptoms, instructed him to return in two weeks to see a

  physician, and referred him to surgery. Id. On December 31, 2020, a physician evaluated

  Petitioner and prescribed treatment. Id. at 3. On January 12, 2021, a physician evaluated

  Petitioner once more. Id. at 4.

          From the above, the undersigned concludes that Petitioner does not plead or establish that

  any person or entity exhibited deliberate indifference to his medical needs. At best, he simply

  disagrees with, or is dissatisfied with, the treatment he did receive. See Gibson v. Collier, 920

  F.3d 212, 220 (5th Cir. 2019) (“There is no . . . claim just because an inmate believes that

  medical personnel should have attempted different diagnostic measures or alternative methods of

  treatment.”). His disagreement or dissatisfaction with the care he received falls short of

  establishing deliberate indifference. See Mayweather v. Foti, 958 F.2d 91 (5th Cir. 1992)

  (finding that an inmate received adequate care, even though the treatment may not have been the

  best, and that any deficiencies in treatment were minimal; moreover, the plaintiff’s continuing

  pain, in and of itself, did not demonstrate that a constitutional violation occurred). 6

          The Court should dismiss this claim.




  6
   See also Vessell v. Myles, 781 F. App'x 355 (5th Cir. 2019) (“While Vessell argues that he
  continued to experience pain and swelling, Myles’s unsuccessful treatment and Vessell’s
  disagreement with the treatment are insufficient to demonstrate deliberate indifference.”).
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  III. Overstay in Detention

         Petitioner claims that he “is entitled to habeas relief under Zadvydas” because his

  detention is “indefinite” and the “path ahead” is unforeseeable. [doc. # 3, p. 15].

         Under 8 U.S.C. § 1231(a)(1)(A), “when an alien is ordered removed, the Attorney

  General shall remove the alien from the United States within a period of 90 days (in this section

  referred to as the ‘removal period’).” Under Section 1231(a)(6), “An alien ordered removed who

  is inadmissible[,] . . . removable[,] . . . or who has been determined by the Attorney General to

  be a risk to the community or unlikely to comply with the order of removal, may be detained

  beyond the removal period and, if released, shall be subject to the terms of supervision in

  paragraph (3).” In Zadvydas, 533 U.S. at 682, the Supreme Court construed Section 1231(a)(6)

  “to contain an implicit ‘reasonable time’ limitation, the application of which is subject to federal-

  court review.”

         “[T]he Court construed § 1231(a)(6) to mean that an alien who has been ordered removed

  may not be detained beyond ‘a period reasonably necessary to secure removal,’ 533 U.S., at 699,

  121 S.Ct. 2491 and it further held that six months is a presumptively reasonable period, id., at

  701, 121 S.Ct. 2491. After that, the Court concluded, if the alien ‘provides good reason to

  believe that there is no significant likelihood of removal in the reasonably foreseeable future,’

  the Government must either rebut that showing [with evidence] or release the alien.” Jennings v.

  Rodriguez, 138 S. Ct. 830, 843 (2018) (quoting Zadvydas, 533 U.S. at 699). 7 “[A]s the period of

  prior postremoval confinement grows, what counts as the ‘reasonably foreseeable future’




  7
   “The alien bears the initial burden of proof in showing that no such likelihood of removal
  exists.” Andrade v. Gonzales, 459 F.3d 538, 543 (5th Cir. 2006).
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  conversely would have to shrink.” Zadvydas, 533 U.S. at 701. If removal is not reasonably

  foreseeable, “the alien's release may and should be conditioned on any of the various forms of

  supervised release that are appropriate in the circumstances, and the alien may no doubt be

  returned to custody upon a violation of those conditions.” Id. at 700.

          “[R]eview must take appropriate account of the greater immigration-related expertise of

  the Executive Branch, of the serious administrative needs and concerns inherent in the

  necessarily extensive INS efforts to enforce this complex statute, and the Nation's need to ‘speak

  with one voice’ in immigration matters.” Id. at 700.

         Here, Respondent provides the declaration of Acting Assistant Field Office Director

  Quincy R. Hodges, III, who declares that Enforcement and Removal Operations has obtained

  “travel authorization from the Cameroonian consulate.” [doc. # 9-1]. He adds that Petitioner “is

  scheduled for a flight to Cameroon on a date in early February 2021.” Id.

         Respondent also attaches a travel document for Petitioner. [doc. # 14]. The document

  states in part, “THE BEARER OF THIS TRAVEL DOCUMENT IS BEING

  ESCORTED/DEPORTED TO CAMEROON.” Id. It is valid until April 21, 2021. Id.

  Petitioner does not dispute the declaration or evidence.

         Respondent contends therefore that “there is a significant likelihood of removal in the

  future . . . .” [doc. # 9, p. 9]. According to Respondent, “This is not an anomaly, because over

  the past three years the Department of Homeland Security has removed 202 individuals to

  Cameroon, including 54 in Fiscal Year 2020.” Id.

         The undersigned finds that because ICE secured a travel document, because Petitioner is

  scheduled for removal in early February 2021, and because DHS has removed others to




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  Cameroon relatively recently, there is a significant likelihood of removal in the reasonably

  foreseeable future.

           Accordingly, Petitioner’s detention remains reasonable, and the Court should dismiss this

  claim. Petitioner may re-urge his claim if he develops good reason to believe, in light of any

  changes in circumstance or new evidence, that his removal is not likely in the reasonably

  foreseeable future. 8

  IV. Rehabilitation Act

           Petitioner seeks relief under the Rehabilitation Act, claiming that his “Medical conditions

  qualify as disabilities.” [doc. # 3, p. 12].

           Courts have precluded federal detainees from bringing Rehabilitation Act claims against

  the federal agencies housing them. 9 Even assuming a federal alien-detainee could obtain relief

  under the Rehabilitation Act using a habeas corpus petition, Petitioner does not plead or establish

  that he is entitled to relief. To establish a prima facie case under the Rehabilitation Act, a

  plaintiff must show: “(1) that he is a qualified individual . . . ; (2) that he is being excluded from

  participation in, or being denied benefits of, services, programs, or activities for which the public




  8
      See. e.g., Adefemi v. Gonzales, 228 F. App'x 415, 416–17 (5th Cir. 2007).
  9
    See, e.g., Toure v. Huron, 2021 WL 75698, at *5 (W.D. Tex. Jan. 8, 2021); Roark v. Flanery,
  2014 WL 4447451, at *27 (E.D. Tex. Sept. 9, 2014) (“[T]he Bureau of Prisons does not fit
  within the definition of ‘programs or activities’ governed by § 794(a).”); Hickman v. Mercado,
  2014 WL 66778, at *7 (N.D. Tex. Jan. 8, 2014) (finding that an action against federal
  government officials in their official capacity is an action against the United States and its
  agencies who are, therefore, shielded by sovereign immunity); Williams v. Meese, 926 F.2d 994,
  997 (10th Cir. 1991) (holding that Rehabilitation Act does not apply to federal prisons); Hurtado
  v. Reno, 34 F. Supp. 2d 1261, 1264 (D. Colo. 1999) (holding that an immigration detainee could
  not bring a Rehabilitation Act claim against Immigration and Naturalization Service (“INS”), the
  predecessor to ICE); see also Inko-Tariah v. Lappin, 2009 WL 8652932, at *1 (E.D.N.C. Apr. 1,
  2009), aff'd, 346 F. App'x 915 (4th Cir. 2009); Sandler v. Anderson, 2008 WL 2610130, at *2
  (W.D. Mo. July 2, 2008).
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  entity is responsible, or is otherwise being discriminated against by the public entity; and (3) that

  such exclusion, denial of benefits, or discrimination is by reason of his disability.” Melton v.

  Dallas Area Rapid Transit, 391 F.3d 669, 671–72 (5th Cir. 2004).

         Petitioner claims that the “removal process is a program which is in part administered by

  DHS, and Petitioner is entitled to participate in the removal process.” [doc. # 3, p. 45]. He adds:

  “By failing to take account of Petitioner’s special vulnerability to severe illness or death if [he]

  contracts Covid-19 and by exposing [him] to a heightened risk of contracting Covid-19,

  Respondents are intentionally preventing Petitioner from participating in the removal process as

  well as the services, programs, and activities within JPCC, by reason of [his] disabilities.” Id.

  He also claims, “Respondents’ ongoing detention of Petitioner constitutes disability

  discrimination in violation of the Rehabilitation Act because it is either disparate treatment of

  Petitioner, or at the very least has a disparate impact on him, based on [his] disabilities, and

  because Respondents have failed to provide Petitioner with reasonable accommodations.” Id.

         With respect to the first claim above, and even assuming that the removal process is a

  program under the Rehabilitation Act, it is undisputed that Petitioner is participating in that

  process now. As above, Respondent has secured a travel document for Petitioner and expects to

  remove him in early February 2020. Moreover, the claim is contradictory: Petitioner desires

  inclusion in the removal process, but he does not ask the Court to remove him. Instead, he seeks

  immediate release into the United States.

         Petitioner’s second claim is entirely conclusory. He does not establish that Respondent

  refuses to remove or release him because of his alleged disability. Rather, the Government

  initially detained Petitioner because he “applied for admission to the United States at the San

  Ysidro, California, Port of Entry without being in possession of a valid document to enter the



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  United States.” [doc. # 9-1, p. 1]. On October 16, 2020, the Government continued to detain

  him, reasoning that his removal was “very likely,” that he posed “a significant risk of flight if

  released,” and that there were “no other urgent humanitarian, medical or custodial issues present

  . . . .” [doc. # 9-3, p. 1]. Petitioner does not dispute this.

          The Court should deny these Rehabilitation Act claims.

                                                Conclusion

          For reasons above, IT IS RECOMMENDED that Petitioner Louis Mbanwi Acha’s

  Rehabilitation Act claims, conditions-of-confinement claims, and medical care claims be

  DISMISSED WITH PREJUDICE.

          IT IS FURTHER RECOMMENDED that Petitioner’s claim of prolonged detention be

  DISMISSED WITHOUT PREJUDICE to Petitioner’s right to re-urge the claim if he has good

  reason to believe, in light of any changes in circumstance or new evidence, that his removal is

  not likely in the reasonably foreseeable future.

          IT IS FURTHER RECOMMENDED that Petitioner’s motion for temporary restraining

  order, [doc. # 3], be DENIED.

          Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Rule 72(b), parties aggrieved by

  this recommendation have fourteen (14) days from service of this Report and Recommendation

  to file specific, written objections with the Clerk of Court. A party may respond to another

  party’s objections within fourteen (14) days after being served with a copy of any objections or

  response to the district judge at the time of filing.

          Failure to file written objections to the proposed factual findings and/or the

  proposed legal conclusions reflected in this Report and Recommendation within fourteen

  (14) days following the date of its service, or within the time frame authorized by Fed. R.



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  Civ. P. 6(b), shall bar an aggrieved party from attacking either the factual findings or the

  legal conclusions accepted by the District Court, except upon grounds of plain error. See

  Douglass v. United Services Automobile Association, 79 F.3d 1415 (5th Cir. 1996).

         In Chambers, Monroe, Louisiana, this 27th day of January, 2021.




                                                       __________________________________
                                                       KAREN L. HAYES
                                                       UNITED STATES MAGISTRATE JUDGE




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